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                              CASE NO. 23-1268



              IN THE UNITED STATES COURT OF APPEALS
                      FOR THE NINTH CIRCUIT



                    PANOCHE ENERGY CENTER, LLC,
                                   Petitioner,
                                       v.
   U.S. ENVIRONMENTAL PROTECTION AGENCY; MICHAEL REGAN,
    Administrator of the U.S. Environmental Protection Agency, in his official
capacity; and MARTHA GUZMAN ACEVES, Regional Administrator of the U.S.
                  Environmental Protection Agency, Region IX

                                 Respondents.


           On Appeal from the U.S. Environmental Protection Agency
                       Permit No. R9UIC-CA1-FY17-2R


                DECLARATION OF BRIAN RAHMAN
         IN SUPPORT OF PETITIONER’S MOTION FOR STAY


                                            K&L GATES LLP
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                                            Attorneys for Petitioner
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       I, Brian Rahman, declare under penalty of perjury the following:

       1.     My name is Brian Rahman. I am over the age of 18 years, I have

personal knowledge of the facts stated herein, and I could and would competently

testify thereto if called as a witness.

       2.     Since 2006, I have served as ZGlobal’s Vice President of Power

Engineering. ZGlobal provides support services to Panoche Energy Center, LLC

(“Panoche”), an electrical generation facility located near Firebaugh, California,

which is at issue in this proceeding (the “Facility”).

       3.     I hold a Bachelor of Science in Electrical Engineering from Washington

State University and am a Professional Electrical Engineer registered in the State of

California.

       4.     Throughout my 30-plus year career, I have gained expertise in areas of

electrical engineering, management of market systems, operations, design and

technology updates, and project coordination in a variety of utility and energy-

related disciplines. Before I was ZGlobal’s Vice President of Power Engineering, I

worked as an electrical engineer for Pacific Gas & Electric (“PG&E”) for about six

years; I then worked as a manager for California Independent System Operator

(“CAISO”) for more than nine years. CAISO is the principal nonprofit corporation

that manages the flow of electricity across California’s power lines, making up 80%




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of California’s power grid. A true and correct copy of my resume is attached hereto

as Exhibit A.

 Peaker Plants Like Panoche Stabilize and Provide Reliability to California’s
                               Electric Grid

      5.     Panoche is one of about 80 gas-fired “peaker” power plants in

California, which play a pivotal role in meeting statewide electric demands. Peaker

plants are designed to come on-line and ramp up quickly to meet peak demand on a

daily basis and to support the grid when demand exceeds the supply of renewable

energy or when a power source unexpectedly has an outage. Peaker plants provide

a critical role in stabilizing and ensuring the reliability of California’s electric grid.

      6.     To explain why peaker facilities are so critical, it helps to understand

the energy resource mix across California.           Certain energy sources, such as

geothermal and nuclear, typically have fixed output and run all day long. Hydro

electric facilities do the same during periods of high run-off when there is an

abundance of water. Other renewable sources, such as wind and solar, are more

intermittent and may cut out suddenly—for example, when thunderclouds roll in and

prevent the generation of solar power. In addition, some renewables start to degrade

when the weather gets too hot, such as geothermal (and sometimes even solar),

which also reduces power production. Taken together, these renewable and non-

renewable power sources typically meet about 90% of California’s daily demand.

      7.     This leaves about a 10% daily demand deficit, which is currently

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satisfied by peaker plants like Panoche. Peaker plants, unlike renewable sources of

energy, are not designed to run all day long. Instead, they are designed to ramp up

quickly, provide output for a few hours during peak demand, and then ramp back

down and go off-line when they are no longer needed.

      8.      Until additional renewable energy and energy storage are deployed

throughout California, peaker plants are essential to ensuring that the electric grid

can meet current energy demands throughout the state. In other words, the transition

to 100% renewable and carbon-free electricity relies on peaker plants like

Panoche—a trusted and dependable source of power that satisfies peak demand,

which renewables alone cannot currently satisfy.

           Panoche Is Unique Among Other Gas-Powered Peaker Plants

      9.      Panoche has the capacity to dispatch up to 417 megawatts of power and

is designated by CAISO as a Resource Adequacy provider for the PG&E North

system (as opposed to just one local area). The PG&E North system includes all of

PG&E’s service area north of Sacramento or roughly 25% of PG&E’s total demand.

Panoche is the fourth largest provider of Resource Adequacy for the North system.

Based on Panoche’s Resource Adequacy capacity alone, Panoche provides a critical

source of power to the region that would be difficult to replace today.

      10.     Panoche is also highly efficient, allowing Panoche to generate up more

power from the same amount of natural gas than many other gas plants. Gas

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generator efficiency is reflected in its heat-rate, which is a value (Btu/kWh)

reflecting the amount of gas required to produce energy. Typical gas plant heat-rates

range from very efficient at 6,000 Btu/kWh to relatively inefficient at 16,000

Btu/kWh or higher. Panoche has a heat-rate of 9,179 Btu/KWh and is relatively

more efficient that other plants of similar size. Because of these efficiencies,

Panoche is relatively cleaner than traditional gas-powered plants.

      11.    In addition, Panoche has rapid-start technology, meaning it can ramp

up and come on-line within 10 minutes. This technology is critical if the grid

unexpectedly loses a power source and starts dipping into operating reserves

(California requires that 6–7% of a utility’s resource capacity, at any one time, is

held in an operating reserve). In that scenario, Panoche has the ability to ramp up

very quickly so that CAISO can recoup those operating reserves, and maintain the

reserve minimum required by regional reliability requirements (set by the Western

Electric Coordinating Council) and federal reliability requirements (set by the North

American Electric Reliability Corporation).

   Disruption in Panoche’s Production Could Result in Harmful Impacts to
                            Californian Citizens

      12.    Assuming that Panoche is taken off-line for failure to comply with

EPA’s permit requirements, immeasurable harm could result. From a reliability

perspective, California would lose a large, key resource for balancing energy

demands and stabilizing the electric grid, given that Panoche is the fourth largest

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peaker provider of Resource Adequacy for the North system. The loss of Panoche

would compromise CAISO’s ability to provide a reliable and stable source of power

to Californians during peak demands.

      13.    Losing the availability of a peaker plant like Panoche would reduce

much needed Resource Adequacy capacity.             If Panoche’s 417 megawatts are

suddenly taken off-line in late August 2023 (if Panoche cannot comply with the

Permit’s offsite monitoring condition), the immediate impact would be the loss of

electricity supply for up to 420,000 homes across California during the peak demand

for air conditioning.    The shutdown of the Facility would have significant

ramifications for citizens’ safety and wellbeing.

      14.    This situation also increases the risk of future forced blackouts or

brownouts.     If California utilities are unable to rely on Panoche’s Resource

Adequacy capacity, they will be forced to utilize limited and less efficient resources

to maintain required operating reserve margins. If that happens, the entire power

system would be put in a precarious position. The reliance on older and less efficient

resources increases the risk that these units may not be available when needed and

cause CAISO to utilize its limited operating reserves. Falling below required reserve

margins could take down not just California’s power grid but that of the entire

West—they are all interconnected and could collapse together. It is not uncommon,

during periods of high temperatures across the West Coast, for CAISO and its

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neighboring balancing areas to be operating with tight reserve margins. Plants such

as Panoche are extremely important resources in such conditions.

      15.    When circumstances like these exist, which cause CAISO to utilize its

limited operating reserves, CAISO has no choice but to start instituting forced

rotating outages throughout the state. In August 2020, for example, CAISO did just

that—in the midst of an extreme heatwave that affected the entire West Coast (for

reasons that had nothing to do with Panoche), CAISO was forced to institute rotating

power outages because there was insufficient Resource Adequacy and California

utilities were starting to dip into their 6–7% operating reserves. Accordingly,

various California residential neighborhoods intermittently lost power for hours at a

time in August 2020, so that utilities could maintain their operating reserve margins.

      16.    In the event that Panoche were forced to shut down—and particularly

if this occurs later this summer during peak seasonal demand—CAISO could again

be forced to institute forced power outages throughout the state to maintain operating

reserve margins. Whenever this happens, there are significant risks to human life.

For example, it would be exceedingly dangerous to cut power to the home of an

elderly person who relies on an in-home ventilator for survival. I am not aware that

anything like this occurred in the midst of forced outages in August 2020, but

regulators are well aware of these risks when they mandate forced outages.

      17.    Even assuming CAISO could avoid forced outages, it would still be

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required to utilize more costly and less efficient resources under these circumstances.

When a peaker facility like Panoche is taken off-line, CAISO is forced to rely on a

backup fleet of power plants to satisfy peak demand. These backup plants are not

very good for environment, as they include less efficient gas plants and the one

remaining coal-fired power plant in California. These plants are far less efficient,

less reliable, and much heavier polluters than Panoche. This would certainly disrupt

California and federal regulators ability to meet state and national carbon-reduction

goals and the transition to a 100% renewable, carbon-free power system.

      18.    In addition, powering up this fleet of less efficient and less reliable

plants would cause electricity prices to go up for all consumers. The backup fleet of

power plants simply cannot generate electricity as efficiently and cost-effectively as

Panoche, which requires less natural gas to generate the same amount of electricity.

      I declare under penalty of perjury pursuant to 28 U.S.C. § 1746 that the

foregoing is true and correct.



               6/21/2023
      Dated: __________________



                                        ____________________________________

                                        Brian Rahman




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     EXHIBIT A
                       Case: 23-1268, 06/23/2023, DktEntry: 5.2, Page 10 of 13                                           (10 of 13)




                            BRIAN RAHMAN, B.S., P.E.
              604 Sutter Street, Suite 250  Folsom, CA 95630  (916) 985-9461  brian@zglobal.biz


               VICE PRESIDENT OF ENGINEERING AND MARKETS
Brian Rahman is ZGlobal’s VP of Engineering and Markets. He has over 30 years of extensive experience in a variety
of utility/energy related disciplines. Experience includes providing precise professional applications in areas such
as overall management of market systems, design, operating procedures and technology updates and utility
operations and business practices.

                                                       SKILLS

     Managing People and Projects           Project Management                 Gap Analysis
     Energy Scheduling and Bidding          Planning                           Forecasting and System Dispatching
     Utility Operations and Best            Market Operation
     Practices

                                            PROFESSIONAL EXPERIENCE

ZGLOBAL ENGINEERING & ENERGY SOLUTIONS (2006-Present)
Vice President of Engineering and Markets
Brian is our resident expert in Energy Market Implementation and Power System Engineering. His engineering and
technical expertise in Utility Operations in addition to his proven ability in managing large complex projects, enable
him to perform both technical and project management responsibilities. Mr. Rahman is ZGlobal’s technical expert in
utility matters has provided expert testimony services in various arenas.
CALIFORNIA INDEPENDENT SYSTEM OPERATOR (CAISO) (1997-2006)
MRTU Program Manager and Manager of Program Office
Responsibilities included overall management of the Market Redesign and Technology Upgrade program. This
program included the wholesale replacement of all Market Systems, Settlement systems and modifications to
approximately 15 supporting applications as well as replacement of the underlying application architecture.
Responsible for negotiations and contract relationships with multiple software vendors, service providers, and
consulting firms. This was a $170 M program with a contract and staff headcount of 215 people. Role involved
routine reporting and interaction with CAISO Board of Governors, FERC, and State regulators.
Manager of: Market Operations, Market Redesign & Technology Update, Special Projects, Market Engineering,
Real Time Market Operations, Technical Support for Real-Time Operations
Responsible for the specification, design, procurement, and testing of Real-Time, and Residual Unit Commitment
Markets. Provided management and coordination for multiple project groups engaged in the design and
implementation of market applications and supporting systems. Oversaw the project requests, budgets, staffing,
design documents and contract negotiations. Responsible to insure Tariff and FERC order requirements are
represented in market applications and operating procedures. Other responsibilities included Department Capital
and O&M Budget development, department and corporate representative for market design and technical
implementation expert, oversee the Day-Ahead, Hour-Ahead, and Real-Time energy, transmission and ancillary
service markets, insure close coordination with grid operations concerning system load forecast, energy and reserve
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 BRIAN RAHMAN                                                                                             ◼   Page 2

procurements, insure accuracy of all published prices and settlement quality data. Insured development of detailed
design documents for vendor and internally developed software, coordination of software testing and deployment
with Market Participants. Project Management responsibilities consisted of overall project development including
budget, design, staffing, inter-departmental and Technical Support for Real-Time Operations.
PACIFIC GAS & ELECTRIC (PG&E) (1991-1997)
Electrical Engineer, Hydro Generation, Project Engineering
Prepared job proposals that included cost estimates, engineering calculations, studies and design. Developed
equipment and consulting specifications, procurement documents and evaluated proposals for electrical equipment
and system revisions and upgrades. Provided engineering guidance and technical support to engineering designers
and drafters. Planned, designed and developed routine work plans needed to maintain and improve PG&E hydro
facilities.
Distribution Engineer
Provided electric planning and operations support for 12kV distribution network. . Performed load growth studies
and developed capacity increase projects as needed for future growth. Provided protection settings for distribution
breakers and line equipment to insure coordination of protective devices. Investigated and resolved power quality
and voltage complaints. Served as on-call supervisor during off-hour emergencies. Coordinated new service
connections and service disconnects.
Electrical Engineer, Hydro Generation
Primarily responsible for the facilities located on the Mokelumne and Stanislaus watersheds consisting of 9
powerhouses and a variety of extensive water conveyance systems. Provided construction, maintenance, and
operations engineering support for PG&E hydro facilities. Identified equipment problems and developed scope, cost,
design, and procurement documents. Provided technical support for maintenance activities, operational constraints,
and construction projects. Provided budget input including project alternatives, economic evaluations, and
justification. Served as project manager, providing project estimating, justification, schedule and cost tracking.
Provided construction coordination and on site engineering. Served as on-call supervisor. Applied Reliability Center
Maintenance practices to PG&E hydro facilities. Responsibilities included: Comprehensive review of hydro
generation equipment maintenance practices and detailed reviews with maintenance staff, documentation of
existing time based practices, and recommended condition based analysis used to trigger maintenance.
Project Coordination
Prepared job proposals that included cost estimates, engineering calculations, studies, and design. Developed
equipment/consulting specifications, procurement documents, and evaluated proposals for electrical
equipment/system revisions and upgrades. Provided engineering guidance and technical support to engineering
designers and drafters. Planned, designed, and developed routine hydro work needed to maintain and improve
PG&E hydro facilities.
Engineering Consulting
Solved electrical engineering problems, evaluated and recommended alternative solutions, evaluated equipment
and engineering service bids and assisted in the project scope, evaluation and justification.
Power System Engineer
Performed contingency studies, analyzed system disturbances and coordinated switching and clearances for
transmission and relay protection maintenance. Monitored system performance and developed Dispatch Operating
Instructions. Reviewed transmission and generation planning projects for operational capability, relay coordination
and determined impact to generation resources. Performed transformer evaluation studies for use in transformer
bank re-rating project and station capability report for planning studies. Developed qualifying facility database and
PG&E winter electric system base-case. Worked on procedure for Diablo Canyon Power Plant black-start.
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 BRIAN RAHMAN                                                                                              ◼   Page 3


                                          EDUCATION & CERTIFICATIONS
                                                                      STATE OF CALIFORNIA
WASHINGTON STATE UNIVERSITY                                           Registered Professional Engineer #E14914
Bachelor of Science (B.S.) in Electrical Engineering

                                                       TESTIMONIES

“Arbitration Findings and Award in Cities of Anaheim et al. v. the ISO & Southern California Edison regarding
“Allocation of Transmission Cost”, Rahman, B., Testimony, Docket No. EL03-54-000, August 27, 2003
[View PDF: http://zglobal.biz/pdf/DocketNo_EL03-54-000_SouthernCitiesv_CaliforniaISO.pdf]

“Ancillary Service Must Offer Obligation and Resource Adequacy Standard Capacity Product”, Testimony submitted
by Brian Rahman to FERC, Docket No. ER 09-1064-000, April 28, 2009

“Investigation of Wholesale Rates of Utility Sellers of Energy and Ancillary Services in the Western Systems
Coordinating Council” testimony provided By Brian Rahman, MRTU Director to FERC, Docket No. EL01-68-017,
ER02-1656-030, ER02-1656-009, Docket No. ER06-615-000, March 15, 2006

“Long-Term Firm Transmission Rights in Organized Electricity Markets” proposal by Brian Rahman, Program
Director of CAISO Market Re-design and Technology Upgrade (MRTU), Submitted to FERC Docket Nos. RM06-8-000
and AD05-7-000, March 13, 2007. [View PDF: http://zglobal.biz/pdf/Docket%20No_RM06-
8_Long_TermFirmTransmissionRights.pdf]

“Post-Technical Conference Response of the California Independent System Operator Corporation on Business
Practice Manual Issues”, Brian Rahman, Program Director of CAISO Market Re-design and Technology Upgrade
(MRTU), submitted to FERC in March 2007, Docket # ER06-615-012 and ER 07-1257-000 [View PDF:
http://zglobal.biz/pdf/MRTU_DocketNos_ER06-615-012.pdf]

“California Independent System Operator Corporation Electric Tariff Filing to Reflect Market Redesign and
Technology Upgrade”, Docket No. ER06, declaration and testimony of Brian Rahman, Program Director of CAISO
Market Re-design and Technology Upgrade (MRTU), Submitted to FERC on February 9, 2006. [View PDF:
http://zglobal.biz/pdf/AttachmentM-DirectTestimony-BrianRahman_ExhibitNo_ISO-8.pdf]

“Tesoro Refining & Marketing Co. LLC v. Pacific Gas and Electric Co.” Case No. 3:14-cv-00930 in the U.S. District
Court of California. Provided Expert Witness Testimony on behalf of Tesoro Refining and Marketing including
written testimony, rebuttal, and on the stand questioning and cross examination.

Imperial Irrigation District v. California Independent System Operator. Docket #3:15-cv-01576-AJB-AGS in the US
District Court- Southern California. Provided testimony on Transmission Operations between the two balancing
authorities on behalf of the IID.

“California Solar Ranch v. Area Energy” JAMS Ref. No. 1100088728. Provided Expert Witness Testimony on Behalf of
Area Energy including written testimony, rebuttal, questioning and cross examination.

“McKinley Children’s Home v. West Hills Construction” Case No. KC069072 in the Superior Court of California,
County of Los Angeles. Provided review and draft testimony regarding failed solar system installed at the Children’s
Center. Case was settled prior to formal testimony.
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                      CERTIFICATE OF SERVICE

       I hereby certify that on June 23, 2023, I arranged for the foregoing
document to be electronically filed with the Clerk of the Court for the United
States Court of Appeals for the Ninth Circuit by using the appellate CM/ECF
system.
      Participants in the case who are registered CM/ECF users will be served
by the appellate CM/ECF system.



                                             /s/ Abigail Belscher
                                             Abigail Belscher
